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l joseph P. Cook

2 RAGAIN &~, COOI<, PC
3936 Avenue B, Suite A-2
Billings, MT 59102
Telephone (406) 651~8888
Facsimile (406) 651~8889
joe@lawmontana.com

Aictorneys for Plaintiffs

MONTANA FOURTEENTH }UDICIAL DISTRICT COURT, MUSSELSHELL COUNTY

ROBERT NEWMAN, individually as Personal
11 Representative 011 behalf of THE ESTATE OF Cause No. DV~I'?-l’l
12 ]ACKIB ANN NEWMAN, and on behalf c)f

 

STEPHANIE NEWMAN and MANDY ]udge Randall I. Spau}ding
13 NEWMAN,
14
plaintiffs, NOTICE QFA LAWSUIT ANI)
15 REQUEST To ACKNOWLBDGE
ANI) WAIVE smach or41 A
16 VS' SUMM<JNS

17 FARMERS ALLIANCE MUTUAL
13 INSURANCE COMPANY,

 

 

19 Defendant.
20

'I`O: Farmers Alliance Mutua] Insurance C<)mpany
21 By and Through

Montana Insurance Commissioner

22 P 0 Box 4009
23 Helena, MT 59604:
24

Why are you getting this?
25
26 A lawsuit has been filed against you, or the entity you represent, ia this court under

the number sham above. A copy of the complaint is attached

 

 

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This is not a summons, or an official notice from the court lt is a request that, to
avoid expenses, you acknowledge and waive formal service of a summons by signing and
returning the enclosed acknowledgment and waiver. To avoid these expenses, you must
return the signed acknowledgment and waiver within 21 days (42 days it you are the State of
Montana, a state agency, or a state officer or employee) from the date shown below, which is
the date this notice Was sent. Two copies of the acknowledgment and waiver are enclosed,
along With a stamped self-addressed envelope, or other prepaid means for returning one
copy. You may keep the other copy.

What happens next?

li you return the signed acknowledgment and waiver, l will file it With the court The
action will then proceed as if you had been served on the date the Waiver is iiled, but no
summons will be served on you and you will have 30 days from the date you sign the
acknowledgment and waiver to answer the complaint

lt you do not return the signed acknowledgment and waiver within the time
indicated, l will arrange to have the summons and complaint served upon yon, and l will ask
the court to require you, or the entity you represent, to pay the expenses of making service

Please read the enclosed statement about the duty to avoid unnecessary expenses

l certify that this request is being sent to you on the date below.

aj
DATED this {Q“£day of March, 2017.

RAGAIN & COOK, P.C.

 

  

Attorneysfor the Plaz`ntijj'“

 

 

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R.AGAIN & COOK, PC f,`: 2 =‘-‘-'="-‘ ‘»‘
3936 Avenue B, Snite A-Z 111 7 mm 13 mg 2 HH

Billings, i\/i"i` 59102
Telephone (406) 651~8888
Facsiinile (406) 651~8889

joe@lawmontana.com B`i' _----~j-"~"*“""“_§"__'; .1.
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Teréisa G Fauth

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Attorneys for Plaintiffs

MONTANA FOURTEENTH }'UDICIAL DISTRICT CGURT, l\/IUSSELSHELL COUNTY

ROBERT NEWMAN, individually, as Personal
Representative on behalf of THE ESTATE OF Canse No. DV -" !' 7 ‘” if
]ACKIE Al\H\l NEWMAN, and on behalf of
STEPHAN.{E NEWMA.N and l\/IANDY judge Randali i. Spaulding
NEWMAN,
Plaintiffs, COMI’LAINT ANI) DEMAND
- FOR ]'URY TRIAL
vs.
FARMERS ALLIANCB l\/IUI'UAL
lNSURANCE COl\/LPANY,
Defendant.

 

 

Por their complaint Piaintiffs, through counsel, allege and state, upon information
and beiief:
il_§T__I_lS_Q_l_)_U_(_:T__IQ__N
1. This is a civil bad faith action to recover damages caused by the lf)ef:endant’s

unreasonable incomplete and Wrongful denial of third-party and first~party claims of the

l\lewman farnin following the death jackie Ann Newman.

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v

PARTIES

2. Robert Newrnan is the duly appointed Personal Representative ot the Estate of
jackie Ann Newman. Robert has been, at all times relevant a resident of the town of
l\/ielstone, Musselshell County, Montana. Robert and ]acl<ie were married on May 13, 1987,
and they were married at the time of lackie’s death on October 15, 2015. They had two
daughters Stephanie and Mandy, who were 24 and 22 years old respectively at the time of
lackie’s death Robert and jackie were named insureds under Defendant Farrners Alliance
l\/lutual insurance Company’s Policy Nurnber AR209246APV01 (Newman Policy) on
October 15, 2015. The l\lewman’s 2013 Dodge Ram Picl<up truck was insured under the
policy as well.

3. Defendant Fanners Allia.nce Mntoal insurance Cornpany (”FAMIC") is l<ansas
company with its principal office located at 1122 N Main Street, McPlierson, Kansas.
FAMC was at all times relevant authorized to transact the business of insurance in the State
of Montana.

FACTUAL BACKGROUND

fi. On October 15, 2015, shortly after 5 p.rn., i\/ir. ]ames C. Crowley, while driving
the Newman’s 2013 Dodge Rarn 3500 dually pickup truck pulling a ZS-ioot horse trailer
Westbound on U.S. l-Iighway 12 in Musselshell County, l\/iontana, struck and killed lackie

Newman while she was operating an ATV.

 

 

 

 

 

 

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5, On October 15, 2015, FAl\/HC insured Mr. Crowley while operating the
Newrnan's pickup truck, pursuant to the Newman Poiicy, with policy limits of $BOU,OUU.

6. On Oc:tober 15, 2015, l\/lr. Crowley was also covered by policies issued by QB-E
Farrners Union fnsurance and Farmers Union l\/iutual Insurance Company.

7. ]ust prior to the coliision, jackie and Robert Newman, along with justin
Kincheloe and another hired hand, Pedro, were moving cow~calf pairs across US Highway
12 from their home corrals into a pasture on the north side oi the highway near mile market
206.

8. Mr. Crowley had been working with the Newrnans prior to the coliision, and
he knew the route and location of where the cattle and workers would be crossing the
highway

9. Mr. Crowiey approached mile marker 206 with his vision allegediy obstructed
by sun glare and his attention admittedly distracted by a cookbool< his passenger and
fiancé, Stephanie Newrnan, was looking through l\/lr. Crowley had just given Stephanie the
book as a present from his mother.

10. At the same time, a calf ran up towards the north shoulder of the highway

ll. §acl<ie, on an ATV, followed the calf in an attempt to keep it off the roadway

12. ]ackie’s ATV Was on the fog line, completing an arc like maneuver when she

was struck from behind by the truck operated by Mr. Crowley.

13. The collision kiiled ]aci<ie.

 

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14. Mr. Crowley saw neither the calf nor Iacl<ie until immediately prior to impact

15. Robert Newman witnessed the entire event from horseback.

16. justin Kincheloe witnessed the entire event from horsebacl<.

17. Stephanie Newman was inside the cab of the truck the entire time leading up
to the coliision.

18. Mr. Crowiey immediately drove into Melstone following the coilision because
there was no celi phone service at the scene Mr. Crowiey called 911 dispatch and reported
he was traveliing 60-65 mph at the time of the collision

19. The Montana l~lighway Patrol investigated the collision, and produced a
report identified by Crash Number 50074386~03 (MHP Report).

Z{l. l\/ir. Newman made a claim for insurance benefits on or about November 2,
2015 to FAMIC, and the claim was assigned to Ms. Kathy Brick for claim handiing.

21. l\/is. Brick’s liability investigation consisted entirely of reviewing the MHP
Report, interviewing l\/ir. Crowley, and viewing scene and vehicie photos

22. Ms. Bricl< knew Mr. Crowley and Stephanie Newman were engaged to be
married at the time the claim was made, when she was interviewing Mr. Crowley, and
when she denied the claim

23. In the MHP Report, the investigating officers concluded ”[t]he factors in this
crash include the inattentiveness ot both drivers and the glare of the sun in l\/ir. Crowiey’s

eyes.” Also, the officer reported ”i\/ir. Crowiey was distracted by the cookbook his

 

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passenger, Stephanie Newman, Was looking at in the interior of the vehicle l\/lr. Crowley
looked down at the cookbool< just prior to the crash.”

24. Prior to denying the claim, l\/ls. Bricl< did not conduct, and did not attempt to
conduct recorded statements of any eye Witnesses, including Robert Newman, Stephanie
l\lewman or justin Kincheloe.

25. Prior to denying the claim, l\/ls. Bricl< did not interview the Montana fiighway
Patrol investigating officers

26. Prior to denying the claim l\/ls. Bricl< did not request any scene reconstruction

27. Ms. Bricl< conducted an investigation simply to supports denial, and failed to
properly consider information to support a finding of liability on Mr. Crowley”s behalf.

28. On December 16, 2015, without conducting a reasonable investigation Ms.
Bricl< issued an outright denial of Robert l\lewman’s first»party claim for medical payment
benefits, the Newman iamily’s third~party claims against Mr. Crowley.

29. Ms. Bricl< never notified the Newman family that l\/fr. Crowlev possessed
additional insurance coverage through other carriers

30. Pollowing the December 16, 2015 denial, Robert l\lewman reported a
complaint to the l\/lontana State Auditor’s office because he believed FAl\/ilC’s denial was

unreasonable and erroneous

 

 

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31. l\/ls. Brici< responded on FAl\/ilC's behalf to the l\/Iontana State Auditor by
letter on February ll, 2016, and only listed facts to support a denial and did not describe
any consideration of facts contrary to her conclusion

32. The Estate of jackie Newman, Robert Newman, Stephanie Newman and
Mandy Newrnan have suffered and continue to suffer emotional mental and financial
damages caused by FAM£C’s actions including its unreasonable and perfunctory
investigation

COUNT ONE - BAD FAITH BREACH OF CONTRACT

(on behalf of Robert Newraan, Individually and as Persona}‘L Representative of the Estate
of ]acl<ie Newman)

32. Piaintiffs incorporate l°aragraphs l through 31 as if fully set forth herein

33. The contract of insurance between FAl\/llC and Robert and jackie Newrnan
involved a special relationship as that term is defined under l\/lontana Law.

34. FAMIC had a duty to act honestly and observe reasonable commercial
standards of fair dealing and trade with respect to its contract of insurance with Robert and
]acl<ie Newman.

35. FAl\/UC used its discretion conferred by the contract of insurance to act
dishonestly and outside of the accepted commercial practices 'i`his conduct by FAl\/ilC
deprived Robert Newman and the Estate of jackie Newman of the benefits of said contract

of insurance

36. FAl\/ilC violated its duties and obligations owed to Robert Newman and the

 

 

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Estate of ]acl<ie Newrnan by virtue of its insuring agreement and as such breached its
contract of insurance with them by failing to timely and completely provide insurance
coverage for the claimed medical payment benefits and failing to reasonably and fairly
investigate the liability claim under the NeWinan Policy. PAMIC’B Conduct in this regard
Was malicious as that term is defined in punitive damage law in Montana.

37. As a result of FAMIC’s Wrongful failure to perform the insurance contract in
good faith pursuant to Montana laW, and as promised and represented Robert i\lewrnan
and the Estate of ]acl<ie Newrnan have suffered and continue to suffer substantial injury and
damage for Which PAMIC is liable for all damages available under l\/lontana law including

but not limited punitive and compensatory damages

COUNT TWO - UNFAIR TRADE PRACTICES
(on behalf of all Plaintiffs)

38. Plaintiffs incorporate Paragraphs l through 37 as if fully set forth herein

39. FAMIC owed duties to Plaintiffs under Montana law embodied in the Unfair
Trade Practices Act, §33~18-201, MCA, et. seq. (”UTPA”), which governs the conduct and
activities of individuals as Well as insurance companies in this state in their relationships
With both insureds and third parties

40. FAMIC breached its duties and obligations owed to Plaintiffs by its violations
of l\/lontana’s Unfair "i`rade Practices Act, to include, but not limited to: (l) refusing to pay

claims Without conducting a reasonable investigation based upon all available information;

 

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(2) failing to adopt and implement reasonable standards £or the prompt investigation of
claims arising under insurance policies; (3) misrepresenting pertinent facts or insurance
policy provisions relating to coverages at issue; (4) failing to promptly provide a reasonable
explanation of the basis in the insurance policy in relation to the facts or applicable law for
denial of a claim or for the offer of a compromise settlement

30. FAMIC’s actions, as described in the preceding paragraphs are maliciousl as
that Word is given efficacy by Montana laW, and such malicious breaches of duties and
obligations by FAMIC entitle Plaintiffs to an award of all compensatory damages allowed
by l\/Iontana law, as Well as punitive damages of sufficient size and monetary amount
under the financial circumstances of the Defendant, and its conduct and misconduct in this
entire matter, so as to properly discharge and serve the salutary purposes ot punitive
damages under l\/Iontana laW.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs mal<e demand against Defendant for all compensatory and
other damages available under Montana law together With interest and an award of
substantial punitive damages, together with attorney fees, all of Wlnicl'\ the Conrt and the
jury might find appropriate and fair under these circumstances

DEMAND P()R §ng TRIAL

Plaintiffs demand trial by jury of all of the issues in this action.

 

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joseph P. Cool<

RAGAIN & COOK, PC
3936 Avenue B, Suite A~Z
Billings, l\/l"l` 59102
Teleplione (4(}6) 651-8888
Pacsirnile (406) 651~»8889

j oe@iawtnontana.com

Attorneys for Plaintiffs

UHIGINAL

l\/IONTANA FOURTEENTH ]UDICIAL DISTRICT COURT, l\/IUSSELSHELL COUNTY

ROBERT NEWMAN, individually as Personal
Representative on behalf of Tiitl ESTATE OF Cause No. DV ” 17 ”’ f l
]ACI<IE ANN NEWMAN, and on behalf of
STEPHANIE NEWMAN and MAN`DY judge Randall l. Spaulding
NEWMAN,

Plaintiffs, SUMMONS

VS.

PARMERS ALLIANCE i\/IUTUAL
INSURANCE COl\/lPANY,

 

 

Detendant.

TO: Farmers Alliance Mutual Insurance Company, Deiendant.

A lawsuit has been filed against you.

Witl:iin 21 days after service of this summons on your or (42 days it you are the State
of Montana, a state agency, or a state officer or employee), you must serve on the plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Montana Rules ot` Civil

Procedure. Do not include the day you Were served in your calculation ot time 'l`he answer

